         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR3


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )             ORDER
                                        )
                                        )
CHARLES E. SMITH                        )
                                        )

     THIS MATTER is before the Court on the Government’s motion to

dismiss the indictment as to the captioned Defendant.

     For the reasons stated in the motion and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s motion is

ALLOWED, and the indictment is hereby DISMISSED as to the Defendant

Charles E. Smith.

                                    Signed: July 12, 2007




   Case 1:07-cr-00003-TSE-DLH   Document 88    Filed 07/13/07   Page 1 of 1
